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                                  IN THE UNITED STATES DISTRICT COURT                   2012 OCT 22 PM I: 05
                                      FOR THE DISTRlCT OF VERMONT                                   CLERl(
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     UNITED STATES OF AMERlCA,                       )

                                                     )

                               Plaintiff,            )

                                                     )          Case No. 5: 12·cv-236
                        v. 	                         )
                                                     )

     THE STATE OF VERMONT; and                       )          SETTLEMENT AGREEMENT 

     JAMES C. CONDOS,                                )          AND STIPULATED 

     SECRETARY OF STATE                              )          MOTION FOR ENTRY OF 

     OF VERMONT, in his official capacity,           )          ORDER 

                                                     )
                               Defendants. 	         )

                                                     )

     ---------------------------)
              The United States and the State ofVertnont and James C. Condos, Secretary of State of

,;   Vermont respectfully submit the following Settlement Agreement and request that the Court so

     order:

              WHEREAS, on October 11,2012, the United States filed a complaint against the State of 


     Vermont and James C. Condos, Secretary of State of Vermont (collectively, "Vermont") to 


     enforce the right of Vermont's absent uniformed services and overseas voters ("V OCAVA 


     voters") to vote by absentee ballot in the November 6,2012 Federal general election and future 


     Federal elections, as guaranteed by the Vniformed and Overseas Citizens Absentee Voting Act 


     of 1986 ("VOCA VA"), 42 V.S.C. §§ 1973ff - 1973ff-7, as amended by the Military and 


     Overseas Voter Empowerment Act, Pub. 1. No. 111·84, Subtitle H, §§ 575-589, 123 Stat. 2190, 


     2318-2335 (2009) ("MOVE Act"); 


              WHEREAS, the State of Vermont is responsible for complying with VOCAV A and 


     ensuring that all validly-requested absentee ballots are sent to VOCAVA voters in accordance 

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with its terms, including transmitting timely-requested UOCAV A ballots to qualified UOCAV A

voters at least 45 days prior to the 2012 Federal general election. 42 U.S.C. §§ 1973ff-l &

1973ff-6(6);

       WHEREAS, under Vermont's election law, absentee ballots, including those from

UOCAV A voters, must be received by city or township clerks by the close of polls on election

day in order to be counted. Vt. Stat. Ann. tit. 17, § 2543;

       WHEREAS, the United States moved for a preliminary injunction against Vermont,

asserting that emergency relief was necessary to ensure that all of Vermont's UOCAVA voters

who submitted requests for absentee ballots on or before September 22, 2012 receive the full 45­

day period mandated by UOCA V A in which to receive, mark, and return their ballot in time to

be counted in the November 6,2012 Federal general election;

       WHEREAS, Secretary of State Condos has expressed support for, and has undertaken

steps to propose, legislation in the Vermont Legislature to ensure that UOCAVA voters have the

full and effective opportunity to vote in future elections for Federal office guaranteed by

UOCAVA;

       WHEREAS, the United States and Vennont wish to avoid the burdens, delays, and

uncertainties of litigation and to promote efficiently and expeditiously the parties' shared goal of

ensuring that all of Vermont's UOCAVA voters have the full 45-day time period mandated by

UOCAVA in which to receive, mark, and return their ballot in time to be counted in the

November 6,2012 Federal general election;

       WHEREFORE, the parties having freely given their consent, and the terms ofthis

Settlement Agreement being fair, reasonable, and consistent with the requirements of the

UOCAV A, it is hereby AGREED AND ORDERED that:



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1)    Identification of affected U OCAVA voters: Upon entry of this Settlement Agreement,

      Vermont shall identify each eligible UOCAVA voter who requested a ballot by;

      September 22, 2012 and to whom a ballot was transmitted after September 22, 2012.

2)    Extension of ballot receipt deadline in late-transmittal jurisdictions for November 6,

      2012 Federal general election: Vermont shall extend the deadline for receipt ofballots

      from the UOCAVA voters identified in Paragraph One for the November 6,2012

      Federal general election to November 16, 2012.

3)    Acceptance ofUOCAVA ballots and Return of Vote Forms: Local Election Officials

      shall accept ballots received between November 6 and November 16,2012 from the

      voters identified in Paragraph One, and the Secretary of State shall accept

      supplemental Official Return ofVote forms from the Local Election Officials

      documenting ballots received as of November 13 and November 16,2012.

4)    Counting and Certification ofUOCAVA ballots for November 6, 2012 Federal

      general election: Vermont shall take reasonable steps to ensure that ballots from

      UOCAVA voters identified in Paragraph One, including Federal Write-in Absentee

      Ballots, are counted as validly-cast ballots and tabulated in the final results for the

      November 6,2012 Federal general election, provided such ballots are executed and

      sent by November 5, 2012, are received by close of business on the date ofNovem~er

      16, 2012, and are otherwise valid. Vermont may formally certify the election results

      for the November 6,2012 Federal general election by late-transmittal cities and

      townships on November 13,2012, ifthe number of outstanding absentee ballots from

      UOCAVA voters could not mathematically alter the outcome of the election, subject




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        to amendment to add any votes from any ballots returned by the extended receipt

        deadline.

5) 	    Contacts with UOCAVA voters for November 6,2012 Federal general election: Upon

        entry of this Settlement Agreement, Vermont shall take reasonable steps to ensure that

        any UOCAVA voters identified in Paragraph One who have not yet returned their

        ballots and for whom cities or townships have email or telephone contact information

        are contacted by email or telephone to: (a) explain that the deadline for the ballot to

        be executed and sent is November 5,2012; (b) explain that the deadline for receipt of

        the ballot has been extended to November 16,2012; and (c) provide appropriate

        contact information at the Elections Division of the Secretary of State's office for

        assistance.

6) 	    Coordination with FVAP: Upon entry of this Settlement Agreement, the Secretary of

        State shall notify the Director of the Federal Voting Assistance Program of the United

        States Department of Defense C:FVAP") of the ~xtended deadline, shall request

        assistance in notifying affected voters of the extended deadline, and shall coordinate

        with FVAP as necessary to facilitate such notice.

7) 	    Reporting requirements for the November 6,2012 Federal general election: Vermont

        shall provide a report to counsel of record for the United States no later than

        November 30, 2012, concerning the number ofUOCAVA absentee ballots identified

        in Paragraph One, by city or township, received and counted for the November 6,

        2012 Federal general election in the late-transmittal cities and townships. The report

        shall set forth the following information, by city or township:




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               a. 	 The number of absentee ballots from UOCAVA voters identified in Paragraph One

                  received and counted by the city or township after the close of polls on election

                  day, but prior to the close of business on November 16, 2012;

               b. 	 The number of absentee ballots from UOCAVA voters identified in Paragraph One

                  that were received by the city or township after the close of business on

                  November 16,2012; and

               c. 	 The number of absentee ballots from UOCAVA voters identified in Paragraph One

                  that were not counted in the November 6, 2012 Federal general election. For the

                  ballots that were not counted, Vermont shall specify the reasons such ballots were

                  not counted.

        8) 	   Dismissal: Upon the Court's entry of this Order, the complaint is dismissed without

               prejudice; provided, however, that (I) the United States agrees that it will not

               recommence this action unless Vermont fails to take adequate steps to ensure that

               future qualified UOCAVA voters receive the opportunity to vote in elections for

               Federal office that is provided by UOCAVA, and (2) if there are no untimely­

               transmitted UOCAVA ballots in Vermont's 2014 or 2016 election cycles, the dismissal

               of this action shall be with prejudice. Nothing in this Settlement Agreement shall bar

               the United States from commencing a new action based on violations ofUOCAVA

               arising after the date of entry of this Order.

        9) 	   Enforceability and Admissibility ofAgreement: The Court retains the inherent

               authority to enforce this Settlement Agreement. The Parties agree to the admissibility

               of this Settlement Agreement in this or any subsequent proceeding for its

               enforcement, or other action filed to enforce UOCAVA.



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AGREED AND CONSENTED TO this 18th day of October, 2012.

For Plaintiff United States:

THOMAS E. PEREZ                                         TRIST~J.COFFIN
Assistant Attorney General                              Uni ed States Attorney
Civil Rights Division
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For Defendants State of Vermont and James C. Condos, Secretary of State of Vermont:

STATE OF VERMONT

WILLIAM H. SORRELL
ATTORNEY GENERAL

By:      IWL0
       Keith Aten 

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SO ORDERED this 2Zday of October, 2012.




United States District Judge


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